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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

SERVICIOS FUNERARIOS GG, S.A. DE C.V.,

                       Plaintiff,

v.

ADVENT INTERNATIONAL
CORPORATION,

                       Defendant,

                       and                              Civil Action No. 23-cv-10684-IT

ADVENT INTERNATIONAL
CORPORATION,

                       Counterclaim-Plaintiff,

v.

SERVICIOS FUNERARIOS GG, S.A. DE C.V.,

                       Counterclaim-Defendant.



                        DECLARATION OF GABRIEL F. SOLEDAD

       I, Gabriel F. Soledad, a Partner of the law firm of Quinn Emanuel Urquhart & Sullivan,

LLP that represents Defendant and Counterclaim-Plaintiff Advent International Corp. (“AIC”) in

this matter, respectfully submit this Declaration and hereby state as follows.

       1.      Attached hereto as Exhibit A-1 is a true and correct copy of GSO-01662852.

Date: November 30, 2023


                                                              /s/ Gabriel F. Soledad
                                                              Gabriel F. Soledad




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this November 30, 2023, I caused a copy of the foregoing

document to be served via the CM/ECF system on all counsel of record.



                                               /s/ Andrew J. Rossman
                                               Andrew J. Rossman




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